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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
                                                 §
                                                 §
VS.                                              §     CRIMINAL NO. H-11-165
                                                 §
                                                 §
                                                 §
CATHERINE SANOUBANE, et al.                      §

                                            ORDER

        Defendants Sanoubane, Batista, Chaney, Gordon and Hannah all filed unopposed motions

to extend the deadline to file objections to the presentence report. (Docket Entry Nos. 256-260). The

motions are granted. The objections must be filed by April 14, 2014.

               SIGNED on March 31, 2014, at Houston, Texas.

                                                     ______________________________________
                                                              Lee H. Rosenthal
                                                        United States District Judge
